      Case 1:18-cr-00204-NGG-VMS Document 968 Filed 10/27/20 Page 1 of 1 PageID #: 17484



DOCKET NUMBER:CR 18-0204(NGG)
                                           Criminal Cause Tor Sentencing
Date Received By Docket Clerk:                               Docket Clerk initials:
BEFORE JUDGE: Garaufis DATE:October 27,2020 TIME IN COURT _7_ HRS                               MINS
                                          @ 11:00 am
1. DEFENDANT: Keith Raniere

Present X Not Present      Custody X          Not Custody
DEFENSE COUNSEL: Marc Agnifilo
    FEDERAL DEFENDER:            CJA:                        RETAINED:      X

 2. DEFENDANT:
Present     Not Present     Custody       Not Custody

DEFENSE COUNSEL:
 FEDERAL DEFENDER:               CJA:      RETAINED:


3. DEFENDANT:
Present Not Present Custody                Not Custody

DEFENSE COUNSEL:
 FEDERAL DEFENDER: CJA:                    RETAINED:

A.U.S.A.: TANYA HAJJAR


COURT REPORTER:DAVID ROY
INTERPRETER:    LANGUAGE:
□     Plea Hearing {-Util-Plea Entered)     □ Revocation of Probation contested
□       Arraignment                                          □ Sentencing on a violation
□      Bail Application                                      □ Motion Hearing
□      Violation                                             □ Hearing
□     Status Conference                                      X Sentencing
□       Bail Violation Hearing                               □ Motion for sentence reduction
□       Curcio Hearing                                       □ Oral Argument
□         Voir Dire Held         □          Jury selection          □ Jury trial
□       Jury Trial Death Penalty □        Sentence enhancement Phase                  □        Bench Trial Begun
Speedy Trial Start: Speedy Trial Stop: CODE TYPE: XT
Do these minutes contain rullng(s) on motion(s)?    YES                                        NO


Sentencing held; See Sentencing Memorandum and Judgment.
